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                                  UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF ILLINOIS
                                        EASTERN DIVISION

                                                )
GC2 INCORPORATED,                               )
                                                )
       Plaintiff,                               )    Case No.: 1:16-cv-08794
                                                )
       vs.                                      )    JURY TRIAL DEMANDED
                                                )
International Game Technology PLC, et al.,      )    Judge:              Matthew F. Kennelly
                                                )    Magistrate Judge:   Mary M. Rowland
                    Defendants.                 )
                                                )
                                                )
                                                )
                                                )

                                      MOTION TO WITHDRAW

             COMES NOW Ricardo Meza and hereby moves to withdraw his appearance as counsel

   for Plaintiff GC2 Incorporated (“GC2”), and in support thereof states as follows:


             1.     Ricardo Meza is currently an attorney at Greensfelder, Hemker & Gale, P.C.

   (“Greensfelder”), and has entered as counsel for Plaintiff GC2.


             2.     Mr. Meza has accepted new employment and, as of Saturday, February 2, 2019,

   will no longer be an attorney at Greensfelder.


             3.     Accordingly, Mr. Meza seeks to withdraw his entry of appearance on behalf of

   Plaintiff GC2.


             4.     Plaintiff will not be prejudiced by this withdrawal as they will continue to be

   represented by Kara Cenar, Susan Meyer, Kevin Hormuth and Kristen M. Ahmad of

   Greensfelder, Hemker & Gale, P.C.
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          WHEREFORE, Ricardo Meza hereby respectfully requests that the Court grant his

Motion to Withdraw Appearance and for such other relief that the Court deems just and

proper.


                                            Respectfully Submitted,


                                            GREENSFELDER, HEMKER & GALE, P.C.


                                            By: /s/ Ricardo Meza
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                                CERTIFICATE OF SERVICE

       The undersigned, an attorney, hereby certifies that on February 1, 2019 a true and
correct copy of the foregoing document was filed using the Court’s CM/ECF system,
which will automatically notify and serve all parties of record by electronic mail.


                                             Ricardo Meza
